CaSe 2:04-Cv-02591-.]PI\/|-tmp Document 24 Filed 08/29/05 Page 1 of 2 Page|D 34

 

IN THE UNITED sTATEs DIsTRIcT coURT Fma’ay»ézh_ac
FoR THE wEsTERN DISTRICT oF TENNEssEE 0 '
wEsTERN DIvIsIoN 5 AUG 29 AH 3, 20
FWPMSMW
JoAN DENISE HURST, EW%U°V“FFIQIRT
i,»!i_g.¥'£]’.g$

Plaintiff,
v. No. 04-2591 Ml/p
BILLY PHILLIPS,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE TO FILE REPLY IN
SUPPORT OF DEFENDANT'S MOTION FOR SUMMARY JUDGMENT

 

Before the Court is Defendant's Motion for Leave to File
Reply in Support of Defendant's Motion for Summary Judgment,
filed August 25, 2005. Good cause having been shown, Defendant's
motion is GRANTED. Clerk's Office is instructed to file Exhibit
2 Of Defendant's Motion for Leave to File Reply in Support of
Defendant’s Motion for Summary Judgment (Docket No. 21) as Reply

in Support of Defendant's Motion for Summary Judgment.

SO ORDERED this O?&Jday of August, 2005.

¢.`Q mc (LQQch

JON P. MCCALLA
U TED STATES DISTRICT JUDGE

 

This document entered on the docket sh/eet |n com liance g z
winn eula 53 and/or re{a) FRCP on g 53 'O §

STATES DISTRIT oURT - WESTER DISRICT oF TNNESSEE

thice cf Distributicn

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02591 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Edward J. McKenney

HARRIS SHELTON HANOVER V\MLSH7 PLLC.
One Commerce Square

Ste. 2700

Memphis7 TN 38103--255

Curt Runger
DOUGLASS & HOOTS
2820 Summer Oaks Drive
Bartlett7 TN 38134

Honorable J on McCalla
US DISTRICT COURT

